Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 1 of 18




            Exhibit G
                      to Hawkins Declaration

                Plaintiffs’ Motion for Class Certification


  Michelo et al. v. Nat’l Collegiate Student Loan Trust 2007-2 et al., No. 18-CV-1781
  Bifulco et al. v. Nat’l Collegiate Student Loan Trust 2004-2 et al., No. 18-CV-7692
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 2 of 18




                                                                   Plaintiffs' 000349
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 3 of 18




                                                                   Plaintiffs' 000350
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 4 of 18




                                                                   Plaintiffs' 000351
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 5 of 18




                                                                   Plaintiffs' 000352
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 6 of 18




                                                                   Plaintiffs' 000353
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 7 of 18




                                                                   Plaintiffs' 000354
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 8 of 18




                                                                   Plaintiffs' 000355
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 9 of 18




                                                                   Plaintiffs' 000356
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 10 of 18




                                                                   Plaintiffs' 000357
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 11 of 18




                                                                   Plaintiffs' 000358
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 12 of 18




                                                                   Plaintiffs' 000359
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 13 of 18




                                                                   Plaintiffs' 000360
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 14 of 18




                                                                   Plaintiffs' 000361
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 15 of 18




                                                                   Plaintiffs' 000362
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 16 of 18




                                                                   Plaintiffs' 000363
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 17 of 18




                                                                   Plaintiffs' 000364
Case 1:18-cv-07692-PGG-BCM Document 243-7 Filed 06/03/21 Page 18 of 18




                                                                   Plaintiffs' 000365
